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 4   Attorney for Defendant
     MARLON WASHINGTON
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:13-CR-00054-KJM
11                                 Plaintiff,            STIPULATION AND [PROPOSED]
                                                         ORDER TO MODIFY PRETRIAL
12          vs.                                          RELEASE CONDITIONS
13   MARLON WASHINGTON,
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Marlon Washington, that the pretrial release special
19   condition requiring electronic monitoring and curfew be terminated.
20          Mr. Washington recently successfully completed the Better Choices Court Program,
21   and is currently employed.
22          The United States Attorney and the Pretrial Services Officer for Mr. Washington have
23   no opposition to the proposed change. Accordingly, Mr. Marlon Washington requests the
24   Court modify his pretrial release conditions. Specifically, Pretrial Services is recommending
25   special condition 9 be deleted. All other conditions remain in effect.
26   / /
27   / /
28   / /


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     Stipulation/[Proposed] Order to Modify Pretrial Release Conditions
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 1   Dated: April 29, 2014                                  Respectfully submitted,
 2                                                          /s/ Michael E. Hansen
 3                                                          MICHAEL E. HANSEN
                                                            Attorney for Defendant
 4                                                          Marlon Washington

 5   Dated: April 29, 2014                                  BENJAMIN B. WAGNER
                                                            United States Attorney
 6
                                                            By: /s/ Michael E. Hansen for
 7                                                          JASON HITT
                                                            Assistant U.S. Attorney
 8                                                          Attorney for Plaintiff

 9                                                ORDER
10          The Court, having received, read, and considered the stipulation of the parties, and
11   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
12
            IT IS SO ORDERED.
13
     Dated: April 30, 2014
14
                                                       _____________________________________
15                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
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     Stipulation/[Proposed] Order to Modify Pretrial Release Conditions
